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                                             UNITED STATES BANKRUPTCY COURT
                                               EASTERN DISTRICT OF VIRGINIA


                                                    CHAPTER 13 PLAN - AMENDED
                                                      AND RELATED MOTIONS

Name of Debtor(s):          Patricia L Johnson                                           Case No: 22-30214-KLP

This plan, dated    September 22, 2022      , is:

                         the first Chapter 13 plan filed in this case.
                         a modified Plan, which replaces the
                           confirmed or unconfirmed Plan dated           2/25/2022   .

                         Date and Time of Modified Plan Confirmation Hearing:
                            November 2, 2022 at 9:10 a.m.
                         Place of Modified Plan Confirmation Hearing:
                            701 E. Broad Street, Suite 5100 Richmond, VA 23219

                   The Plan provisions modified by this filing are:
                     2) Funding; 4)b. Secured surrender; 12. Other; Sch J

                   Creditors affected by this modification are:
                     American Honda Finance. No negative affect on general unsecured creditors.
1. Notices
To Creditors:
Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should read this plan
carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court.
(1) Richmond and Alexandria Divisions:
The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed.
(2) Norfolk and Newport News Divisions: a confirmation hearing will be held even if no objections have been filed.
    (a) A scheduled confirmation hearing will not be convened when:
         (1) an amended plan is filed prior to the scheduled confirmation hearing; or
         (2) a consent resolution to an objection to confirmation anticipates the filing of an amended plan and the objecting
         party removes the scheduled confirmation hearing prior to 3:00 pm on the last business day before the confirmation
         hearing.
In addition, you may need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance.

Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item is
checked as “Not Included” or if both boxes are checked, the provision will be ineffective if set out later in the plan.
A.      A limit on the amount of a secured claim, set out in Section 4.A which may           Included        Not included
        result in a partial payment or no payment at all to the secured creditor
B.      Avoidance of a judicial lien or nonpossessory, nonpurchase-money                    Included         Not included
        security interest, set out in Section 8.A
C.      Nonstandard provisions, set out in Part 12                                          Included         Not included

2.      Funding of Plan. The debtor(s) propose to pay the Trustee the sum of $455.00 per month for 8 months, then $900.00 per
        month for 52 months.
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Other payments to the Trustee are as follows:
           The total amount to be paid into the Plan is $ 50,440.00 .
3.       Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.
         A.        Administrative Claims under 11 U.S.C. § 1326.
                   1.       The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10% of all sums
                            received under the plan.
                   2.       Check one box:
       Debtor(s)’ attorney has chosen to be compensated pursuant to the “no-look” fee under Local Bankruptcy Rule 2016-1(C)(1)(a)
      and (C)(3)(a) and will be paid $ 5,559.00 , balance due of the total fee of $ 5,609.00 concurrently with or prior to the
      payments to remaining creditors.
       Debtor(s)' attorney has chosen to be compensated pursuant to Local Bankruptcy Rule 2016-1(C)(1)(c)(ii) and must submit
      applications for compensation as set forth in the Local Rules.
         B.        Claims under 11 U.S.C. § 507.
                   The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                   monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid pursuant to
                   3.C below:
Creditor                           Type of Priority                     Estimated Claim                    Payment and Term
Chesterfield County                Taxes and certain other debts        1,413.75                           Prorata
                                                                                                           3 months
         C.        Claims under 11 U.S.C. § 507(a)(1).
                   The following priority creditors will be paid prior to other priority creditors but concurrently with administrative
                   claims above.
Creditor                           Type of Priority                     Estimated Claim                    Payment and Term
-NONE-


4.    Secured Creditors: Motions to Value Collateral (“Cramdown”), Collateral being Surrendered, Adequate Protection
Payments, and Payment of certain Secured Claims.
                   A.      Motions to Value Collateral (other than claims protected from “cramdown” by 11 U.S.C. §
                   1322(b)(2) or by the final paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the
                   Court, the Court may grant the debtor(s)’ motion to value collateral as set forth herein.
         This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from
         “cramdown” by 11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)’ principal residence] or by the final paragraph of 11
         U.S.C. § 1325(a) [motor vehicles purchased within 910 days or any other thing of value purchased within 1 year before filing
         bankruptcy], in which the replacement value is asserted to be less than the amount owing on the debt. Such debts will be
         treated as secured claims only to the extent of the replacement value of the collateral. That value will be paid with
         interest as provided in sub-section D of this section. You must refer to section 4(D) below to determine the interest
         rate, monthly payment and estimated term of repayment of any “crammed down” loan. The deficiency balance owed
         on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 5 of the Plan.
         The following secured claims are to be “crammed down” to the following values:

Creditor                        Collateral                     Purchase Date              Est. Debt Bal.              Replacement Value
Performance Finance             2017 Polaris Slingshot         2/2019                     12,687.41                   17,720.00

Prestige Financial Svc          2016 Jeep Compass              9/2017                     5,173.49                    13,905.00
                                40,000 miles
         B.        Real or Personal Property to be Surrendered.
         Upon confirmation of the Plan, or before, the debtor(s) will surrender his/her/their interest in the collateral securing the
         claims of the following creditors in satisfaction of the secured portion of such creditors’ allowed claims. To the extent that
         the collateral does not satisfy the claim, any timely filed deficiency claim to which the creditor is entitled may be paid as a
         non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic stay under §§ 362(a) and 1301(a) as to
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         the interest of the debtor(s), any co-debtor(s) and the estate in the collateral.
Creditor                            Collateral Description               Estimated Value                   Estimated Total Claim
American Honda Finance              2019 Honda Civic 43,800 miles        20,900.00                         26,513.83
         C.       Adequate Protection Payments.
         The debtor(s) propose to make adequate protection payments required by 11 U.S.C. § 1326(a) or otherwise upon claims
         secured by personal property, until the commencement of payments provided for in sections 4(D) and/or 7(B) of the Plan, as
         follows:
Creditor                          Collateral                          Adeq. Protection Monthly Payment          To Be Paid By
Performance Finance               2017 Polaris Slingshot              100.00                                    Ch 13 Trustee
Prestige Financial Svc            2016 Jeep Compass 40,000            100.00                                    Ch 13 Trustee
                                  miles
         Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
         7(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the
         order for relief).
         D.       Payment of Secured Claims on Property Being Retained (except those loans provided for in section 6 of the
                  Plan):
         This section deals with payment of debts secured by real and/or personal property [including short term obligations,
         judgments, tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each
         allowed secured claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral’s
         replacement value as specified in sub-section A of this section, whichever is less, with interest at the rate provided below,
         the monthly payment specified below until the amount of the secured claim has been paid in full. Upon confirmation of the
         Plan, the valuation specified in sub-section A and interest rate shown below will be binding unless a timely written
         objection to confirmation is filed with and sustained by the Court.
Creditor                        Collateral                           Approx. Bal. of Debt or       Interest Rate   Monthly Payment &
                                                                     "Crammed Down" Value                          Est. Term
Performance Finance             2017 Polaris Slingshot               12,687.41                     3.75%           Prorata
                                                                                                                   34 months



Prestige Financial Svc          2016 Jeep Compass 40,000             5,173.49                      3.50%           Prorata
                                miles                                                                              34 months




         E.       Other Debts.
         Debts which are (i) mortgage loans secured by real estate which is the debtor(s)’ principal residence, or (ii) other long term
         obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default in
         payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 6 of the Plan.
5.       Unsecured Claims.
         A.       Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                  remaining after disbursement to allowed secured and priority claims. Estimated distribution is
                  approximately 100 %. The dividend percentage may vary depending on actual claims filed. If this case were
                  liquidated under Chapter 7, the debtor(s) estimate that unsecured creditors would receive a dividend of
                  approximately 0 %.
         B.       Separately classified unsecured claims.
Creditor                                Basis for Classification                             Treatment
-NONE-
6.       Mortgage Loans Secured by Real Property Constituting the Debtor(s)’ Principal Residence; Other Long Term
Payment Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any existing
default under 11 U.S.C. § 1322(b)(5).

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                 A.        Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors
                 listed below will be paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if
                 any, will be paid by the Trustee either pro rata with other secured claims or on a fixed monthly basis as indicated
                 below, without interest unless an interest rate is designated below for interest to be paid on the arrearage claim and
                 such interest is provided for in the loan agreement. A default on the regular contract payments on the debtor(s)
                 principal residence is a default under the terms of the plan.
Creditor                      Collateral              Regular           Estimated      Arrearage     Estimated Cure      Monthly
                                                      Contract          Arrearage      Interest Rate Period              Arrearage
                                                      Payment                                                            Payment
Capital One Auto Finance      2019 Nissan Sentra      395.00            846.81         4.00%          34months                  Prorata
                              30,000 miles
Quicken Loans                 13910 Cobble Glen       2,071.95          6,348.99       3.75%          34months                  Prorata
                              Court Chester, VA
                              23831-8010
                              Chesterfield County
                              2021 County tax
                              assessment:
                              $295,000.00; last
                              sale: 9/20/2021
                              amount $325,000.00

                              Plan to include
                              February 2022
                              mortgage payment.
         B.      Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the
                 regular contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such
                 debts shall be cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth
                 below.
Creditor                   Collateral                      Regular Contract   Estimated          Interest Rate Monthly Payment on
                                                           Payment            Arrearage          on            Arrearage & Est. Term
                                                                                                 Arrearage
-NONE-


         C.      Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate
                 constituting the debtor(s)’ principal residence upon which the last scheduled contract payment is due before the final
                 payment under the Plan is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. §
                 1322(c)(2) with interest at the rate specified below as follows:
Creditor                        Collateral                       Interest Rate Estimated Claim           Monthly Payment & Term
-NONE-



7.       Unexpired Leases and Executory Contracts. The debtor(s) move for assumption or rejection of the executory contracts,
leases and/or timeshare agreements listed below.
                 A.       Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory
                 contracts:

Creditor                                Type of Contract
-NONE-

         B.      Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                 contracts. The debtor(s) agree to abide by all terms of the agreement. The Trustee will pay the pre-petition
                 arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as
                 indicated below.

Creditor                        Type of Contract               Arrearage               Monthly Payment for Estimated Cure Period
                                                                                       Arrears
                                                                   Page 4
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Creditor                           Type of Contract              Arrearage                Monthly Payment for Estimated Cure Period
                                                                                          Arrears
-NONE-
8.        Liens Which Debtor(s) Seek to Avoid.
          A.        The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                    judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)’ exemptions. Unless a
                    written objection is timely filed with the Court, the Court may grant the debtor(s)’ motion and cancel the
                    creditor’s lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation
                    hearing.
Creditor                           Collateral                    Exemption Basis          Exemption Amount        Value of Collateral
-NONE-


          B.        Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                    will file and serve separate adversary proceedings to avoid the following liens or security interests. The creditor
                    should review the notice or summons accompanying such pleadings as to the requirements for opposing such
                    relief. The listing here is for information purposes only.
Creditor                           Type of Lien                 Description of Collateral              Basis for Avoidance
-NONE-
9.        Treatment and Payment of Claims.
      •   All creditors must timely file a proof of claim to receive any payment from the Trustee.
      •   If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely object to
          confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the Plan. This paragraph
          does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided for in this case, after the
          debtor(s) receive a discharge.
      •   If a claim is listed in the Plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the creditor
          will be treated as unsecured for purposes of distribution under the Plan.
      •   The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.
      •   If relief from the automatic stay is ordered as to any item of collateral listed in the plan, then, unless otherwise ordered by the
          court, all payments as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by
          the plan.
      •   Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on the proof of claim controls over any
          contrary amounts listed in the plan.
10.       Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
          Notwithstanding such vesting, the debtor(s) may not transfer, sell, refinance, encumber real property or enter into a mortgage
          loan modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
          other creditors to the extent required by the Local Rules of this Court.
11.       Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative total
          of $5,000 principal amount during the term of this Plan, whether unsecured or secured, except upon approval of the Court
          after notice to the Trustee, any creditor who has filed a request for notice, and other creditors to the extent required by the
          Local Rules of this Court.
12.       Nonstandard Plan Provisions
               None. If "None" is checked, the rest of Part 12 need not be completed or reproduced.
          Under Bankruptcy Rule 3015(c), nonstandard provisions must be set forth below. A nonstandard provision is a
          provision not otherwise included in the Official Form or deviating from it. Nonstandard provisions set out elsewhere
          in this plan are ineffective.
The following plan provisions will be effective only if there is a check in the box “Included” in § 1.C.
=> Payment of Attorney Fees and Costs - The claims for attorney fees and costs shall be paid by all funds available on first
disbursement after confirmation of the plan (fees) and entry of proof of claim for actual costs (costs), and until such claims
for attorney fees and costs is paid in full, except as reserved for adequate protection payments on allowed secured claims (if
any), DSO claims and Trustee commissions.

=> Direct Payments on Secured Debts:

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     To be paid directly by debtor, co-debtor, or third party. Creditors named below whose claims are allowed will be paid
directly by debtor, co-debtor, or third party in accordance with the terms of the contract and security agreement.



  Creditor: Capital One Auto Finance
  Collateral Description: 2019 Nissan Sentra

  Creditor: Quicken Loans
  Collateral Description: 13910 Cobble Glen Court Chester, VA 23831-8010



Dated:      September 22, 2022

/s/ Patricia L Johnson                                                              /s/ Kimberly A. Chandler
Patricia L Johnson                                                                  Kimberly A. Chandler 47897
Debtor                                                                              Debtor's Attorney
         By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also
         certify(ies) that the wording and order of the provisions in this Chapter 13 plan are identical to those contained in the Local
         Form Plan, other than any nonstandard provisions included in Part 12.
Exhibits:           Copy of Debtor(s)’ Budget (Schedules I and J); Matrix of Parties Served with Plan


                                                          Certificate of Service
I certify that on   September 22, 2022     , I mailed a copy of the foregoing to the creditors and parties in interest on the attached
Service List.

                                                                                    /s/ Kimberly A. Chandler
                                                                                    Kimberly A. Chandler 47897
                                                                                    Signature

                                                                                    P.O.Box 17586
                                                                                    Richmond, VA 23226
                                                                                    Address

                                                                                    804-353-1971
                                                                                    Telephone No.

                                     CERTIFICATE OF SERVICE PURSUANT TO RULE 7004
I hereby certify that on September 22, 2022        true copies of the forgoing Chapter 13 Plan and Related Motions were served upon
the following creditor(s):
   by first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P.; or
   by certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

                                                                                    /s/ Kimberly A. Chandler
                                                                                    Kimberly A. Chandler 47897




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Fill in this information to identify your case:

Debtor 1                      Patricia L Johnson

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA

Case number               22-30214-KLP                                                                  Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       Lakewood Health Care Center

       Occupation may include student        Employer's address
                                                                   13315 Detroit Avenue
       or homemaker, if it applies.
                                                                   Lakewood, OH 44107

                                             How long employed there?         since 7/2019

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $         7,299.72        $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $      7,299.72               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Patricia L Johnson                                                                    Case number (if known)    22-30214-KLP


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $      7,299.72       $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      1,819.42   $                   N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00   $                   N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $        218.99   $                   N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00   $                   N/A
     5e.    Insurance                                                                     5e.        $          0.00   $                   N/A
     5f.    Domestic support obligations                                                  5f.        $          0.00   $                   N/A
     5g.    Union dues                                                                    5g.        $          0.00   $                   N/A
     5h.    Other deductions. Specify: Life Ins                                           5h.+       $          1.50 + $                   N/A
            AFLAC Hosp                                                                               $         57.20   $                   N/A
            STD                                                                                      $        206.70   $                   N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          2,303.81       $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,995.91       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                0.00   $                   N/A
     8g. Pension or retirement income                                                     8g. $             1,623.00   $                   N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                0.00 + $                   N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $          1,623.00       $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              6,618.91 + $           N/A = $          6,618.91
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         6,618.91
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
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Fill in this information to identify your case:

Debtor 1                 Patricia L Johnson                                                                Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   EASTERN DISTRICT OF VIRGINIA                                               MM / DD / YYYY

Case number           22-30214-KLP
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                                                                                      Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             2,071.95

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                             150.00
      4d. Homeowner’s association or condominium dues                                                     4d.    $                              42.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00




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6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 280.00
      6b. Water, sewer, garbage collection                                                   6b. $                                                  29.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                 417.00
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                650.00
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                 90.00
10.   Personal care products and services                                                    10. $                                                  85.00
11.   Medical and dental expenses                                                            11. $                                                 150.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 450.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 100.00
14.   Charitable contributions and religious donations                                       14. $                                                   0.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                    0.00
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                  528.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Personal Property                                                             16. $                                                  61.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                    0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                  395.00
      17c. Other. Specify:                                                                 17c. $                                                    0.00
      17d. Other. Specify:                                                                 17d. $                                                    0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Pest Control                                                        21. +$                                                 69.17
      Misc                                                                                        +$                                               100.00
      Uniforms and shoes for work                                                                 +$                                                50.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       5,718.12
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       5,718.12
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               6,618.91
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              5,718.12

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                                 900.79

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here:




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